           Case 1:17-cv-00271-GSK Document 7                    Filed 12/21/17   Page 1 of 8




UNITED STATES COURT OF INTERNATIONAL TRADE

----------------------------------------------------X
                                                     :
SECOND NATURE DESIGNS,                               :
LIMITED                                              :
                                                     :
                           Plaintiff                 :
                                                     :
                            v.                       :       Court No. 17-271
                                                     :
THE UNITED STATES,                                   :
                                                     :
                           Defendant.                :
-----------------------------------------------------X


                                                COMPLAINT


                  1. Plaintiff Second Nature brings this action seeking the review of a decision

concerning the classification, under the Harmonized Tariff Schedule of the United States

(HTSUS), of certain imported dried botanicals that are subsequently painted, dyed or glittered.

This action is commenced to challenge the United States Customs and Border Protection denial of

plaintiff=s protests challenging the classification of dried botanicals under the Harmonized Tariff

Schedule of the United States (HTSUS).

                                              JURISDICTION



                  2. This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

'1581(a).

                  3. All liquidated, duties, taxes, and charges were paid prior to the commencement

of this action.


                                                         1
          Case 1:17-cv-00271-GSK Document 7                  Filed 12/21/17     Page 2 of 8




                .

                                                PARTIES



                4.       Plaintiff Second Nature Limited (“Second Nature”) is a corporation organized

and existing under the Laws of Canada. Located in Rockton, Ontario, it is a non-resident importer

and wholesaler of natural home decor botanical goods.



                5.       Defendant, United States, is the Federal defendant. Its agency United States

Customs and Border Protection is responsible, inter alia, for the processing of protests filed

pursuant to Section 514 of the Tariff Act of 1930, as amended [19 U.S.C. §1514], and has a

statutory obligation, pursuant to 19 U.S.C. §1515, to review protests and to allow or deny them in

whole or in part.

                                               STANDING

                6.         Plaintiff is the importer of record of the merchandise which is the subject

of this action, and is the real party in interest.



                                       STATEMENT OF FACTS



                7.       The merchandise in question consists of certain natural branches, flowers,

wood, and similar merchandise which is dried and decorated. They are produced in various

countries, including India and Thailand, and are imported into Canada.

                    8.     Once at Second Nature’s facility in Canada, these products undergo


                                                     2
          Case 1:17-cv-00271-GSK Document 7                  Filed 12/21/17      Page 3 of 8




additional processes to adorn or gloss them. These processes might consist of dyeing the dried

botanicals to give them a particular color, lacquering them for a glossier appearance, applying

metallic glitter, or painting them a particular color. After the merchandise is further altered or

decorated, it is placed in ovens to be dried yet again. Each of the articles at issue is a dried botanical

which has been subjected to one or more of the operations, of dyeing, lacquering, glitter coating

or painting. The products are then imported from Canada to the United States.

                9.      Representative examples of the subject merchandise are shown below in

Figures 1 through 4.




                Figure 1                                         Figure 2




                                                    3
         Case 1:17-cv-00271-GSK Document 7              Filed 12/21/17     Page 4 of 8




                                                    Figure 4
       Figure 3



9.     Second Nature believes these goods are properly classified under subheading

0604.90.3000, HTSUS, as “Foliage, branches and other parts of plants, without flowers or flower

buds, and grasses, mosses and lichens, being goods of a kind suitable for bouquets or for

ornamental purposes, fresh, dried, dyed, bleached, impregnated or otherwise prepared: Other:

dried or bleached.” Goods entered under this subheading are entitled to unconditional duty free

treatment.



10.    From July 9, 2015 to December 26, 2016, Second Nature imported dried or bleached

botanicals at the Ports of Buffalo, New York and Detroit, Michigan, under cover of the Customs

consumption entries shown on the Summons in this case. Customs liquidated these entries


                                                4
         Case 1:17-cv-00271-GSK Document 7               Filed 12/21/17     Page 5 of 8




under HTS Subheading 0604.90.60, as “Foliage, branches and other parts of plants, without

flowers or flower buds, and grasses, mosses and lichens, being goods of a kind suitable for

bouquets or for ornamental purposes, fresh, dried, dyed, bleached, impregnated or otherwise

prepared: Other: Other[than dried or bleached], and assessed duty at the rate of 7% ad valorem.



11.    Plaintiff timely filed with the Port Director of Customs at the Port of Buffalo, New York,

and with the Port Director of Customs at the Port of Michigan, Detroit, the following protests:

                                   Date
 Protests             Date Filed   Denied
 0901-16-100029        2/23/2016    5/23/2017
 0901-16-100040        3/10/2016    5/23/2017
 0901-16-100143         8/3/2016    5/23/2017
 0901-16-100181         9/8/2016    5/23/2017
 0901-16-100212        11/1/2016    5/23/2017
 0901-17-100253         1/3/2017     6/5/2017
 0901-17-100413        6/29/2017     7/6/2017
 3801-16-100096        3/10/2016   10/30/2017
 3801-16-100282         8/2/2016   10/20/2017
 3801-16-100334         9/9/2016   10/20/2017
 3801-16-100356       10/11/2016   10/20/2017

See Complaint Exhibit A, which are the best evidence of their contents. Plaintiff’s protest

contested the classification and rate and amount of duty assessed in liquidation, pursuant to 19

U.S.C. §1514(a)(2).



12.    On May 8, 2017, Customs issued Headquarters Ruling Letter H279097, again confirming

the 0604.90.60 classification for the further worked dried or bleached botanicals that they are

properly classified under HTS Subheading 0604.90.60.       Customs cited to rulings where it

considered numerous other botanical products and found that dried natural goods which were

                                                 5
             Case 1:17-cv-00271-GSK Document 7            Filed 12/21/17      Page 6 of 8




decorated beyond bleaching or drying were classified under 0604.90.600.



13.     On May 23, 2017, June 5, 2017, October 10, 2017, and October 20, 2017 Customs denied

the underlying protests to this action. On November 17, 2017, plaintiff timely filed a summons in

this case.

                                             COUNT I



                 14.    Plaintiff repeats and incorporates by reference paragraphs 1 through 13 as

though they were fully set forth herein.



                 15.    The subject dried botanicals were liquidated under:

0604:            Foliage, branches and other parts of plants, without flowers or flower buds, and
                 grasses, mosses and lichens, being goods of a kind suitable for bouquets or for
                 ornamental purposes, fresh, dried, dyed, bleached, impregnated or otherwise
                 prepared:

*                       *                      *                     *                      *

0604.90                 Other:


*                       *                      *                     *

0604.90.6000                     Other…                                                     7%

Under this subheading the goods are dutiable at 7% ad valorem.



                 16. However, all subject botanicals are imported into Canada from Thailand,

China, or India, in a dried preserved condition. They are then decorated by dying, painting, or


                                                   6
          Case 1:17-cv-00271-GSK Document 7               Filed 12/21/17    Page 7 of 8




covering the botanicals in glitter. They remained “dried” or “bleached” in their condition as

imported into the United States.



               17.     Since an eo nomine provision captures all forms of the named article, the

subject dried botanicals are classified under HTS Subheading 0604.90.30, which provides for:

0604:          Foliage, branches and other parts of plants, without flowers or flower buds, and
               grasses, mosses and lichens, being goods of a kind suitable for bouquets or for
               ornamental purposes, fresh, dried, dyed, bleached, impregnated or otherwise
               prepared:

*                      *                      *                      *                    *

0604.90                Other


               *                      *                       *                   *


0604.90.3000                   Dried or bleached…                                         Free




               18.     Nothing in HTS Subheading 0604.90.30 prohibits the dyeing, painting,

lacquering or covering of these foliage goods in glitter or other matter.



               19.     Moreover, goods may only be classified in a basket provision such as

0604.90.60, if no other provision specifically covers the goods.



               20.   Given that HTS Subheading 0604.90.30 is a more specific provision which

covers the dried or bleached botanicals or foliage, which have been further worked by dyeing,


                                                  7
         Case 1:17-cv-00271-GSK Document 7                Filed 12/21/17     Page 8 of 8




painting, or being subjected to glitter, the subject merchandise is classified under 0604.90.30.

                                    PRAYER FOR RELIEF



               Wherefore, plaintiff Second Nature respectfully prays that this Court enter

judgment in its favor, and enter an order directing United States Customs and Border Protection at

the Ports of Detroit and Buffalo reliquidate the entries subject to this action under HTS Subheading

0604.90.30; refunding any deposited duties under 0604.90.60; and awarding plaintiff such further

and additional relief as this Court may deem just.


                                                     Respectfully submitted,
                                                     Neville Peterson LLP
                                                     Counsel for Plaintiff Second Nature
                                                        Designs, Limited
                                                     One Exchange Plaza at 55 Broadway
                                                     New York, NY 10006
                                                     (212) 635-2730
                                                     (212) 635-2734 (Fax)


                                              By:    /s/John M. Peterson
                                                     John M. Peterson
                                                     Maria E. Celis
Dated: December 20, 2017




                                                 8
